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STATE OF NORTH CAROLINA File # 97-CRS-007681
Couaty of Mecklenburg Film #
The State of North Caroliaa In The General Court of Justice

Superior Court Division
VS.
March 10, 1997
Jeffrey Doaald Black,
Defendant. ROBBERY WITH A DANGEROUS WEAPON
G.S. 14-87

THE JURORS FOR THE STATE UPON THEIR OATH PRESENT that on or about the 9th
Gay of January, 1997, in Mecklenburg County, Jeffrcy Donald Black did unlawfully, wilfully and
feloniousty stcal, take, and carry away another's personal property, one (1) leather coat, of valuc,
from the person and presence of Jesse Calvin Linker. The defendant committed this act by means of
am assault consisting of having in his possession and threatening the use of a firearm, a handgun, a
dangerous weapon, whereby the life of Jesse Calvin Linker was threatened and endangered.

 

Assistant District Attorney

      

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WITNESSES:

C CS. Davis. CMPD.

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The witnesses marked “X” were swoprby the undersigned foreman and examined before the
grand jury, and the bill was found to be ~__atrue bill by twelve or more grand jurors | not a
troc bill.

 

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I hereby certify that / members of the grand jury concurred in finding this to be a truc
bill of indictment.

This /o _ day of 7?) 2<e-4—

 

 

 

PENDING P/C 97-0115-220700
Charge Number: 122202 PID: 196847
 

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STATE OF NORTH CAROLINA | 9TCRS 7681, 97CRS 117287

 

 

    
   
      
   

 

 

 

MECKLENBURG County CHARLOTTE.N C “Seat of Court In The General Court Of Justice
MONS ects po any Sry OARS se AGC-CR 301 on iM tonsa) Superior Court Division,
: STATE VERSUS JUDGMENT AND.COMMITMENT
: eendinnt ACTIVE PUNISHMENT
VEPREY DONALD BLACK . FELONY
Race Se DOB
. (STRUCTURED SENTENCING) EE
% a White MM  05=22-1978 eit G8, 15A-1303, 164-4940
k Amomey For State Det Found Det Warveag Altomey For Defendant RS eh Cabs eae
‘ MGOODENOW & A.GLEASON Net indigent "Attorney | GEORGE V.LAUGHRUN —_| DU 4Ppointed [Retained ”
; The defendant X pled guilty to: was found guilty by a jury of: pled no contest to:
fe t : enim anette ROA hea) eerste nap woestncia
File No {3} And Ofense(s} Date OF Offense | GS. No. FM. |
87 CRS 7OST-ROBBERY WITH DANGEROUS WEAPON 01-06-1997 ‘ 14-87 F
97 ORS 117287-AT TEMPTED ROBBERY WITH DANGEROUS WEAPON 1-13-1997 | 14-87 | F :
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of
The Coun PRIOR wl nti ve

X 1. has determined, pursuant to GS. 154-1340 14, the pnor record points of the defendant tobe _! RECORD LEVEL: x i 4] IV my VI
2 makes no prior record level finding because none is required for Class A felony, ie RR
enhanced firearm penaity, violent habitual felon, or drug trafficking offenses.
The Court
1 makes no wntten findings because the prison term imposed is (a) within the presumptive range of sentences authorized
under G.S 15A-1340.17(c). (b) for a Class A felony. (c) for enhanced firearm penalty (G.S. 15A-1340.16A).
(d) for an adjudication as a violent habitual felon. G.S. 14-7.12. (e) for drug trafficking offenses.
makes the Findings of Aggravating and Mitigating Factors set forth on the attached AOC-CR-605.
imposes the prison term pursuant to a plea arrangement as to sentence under Article 58 of G.S. Chapter 15A.
finds the defendant has provided substantial assistance pursuant to G.S. 90-95(h)(5).
adjudges the defendant to be an habitual felon pursuant to Article 2A of G.S. Chapter 14.
finds enhanced punishment from a Class 1 misdemeanor to a Class | felony G.S. 90-95(e)(3) (drugs); . | G.S. 14-3(c) (race).
finds no Extraordinary Mitigation.

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NOM hUN

The Court having considered evidence, arguments of counsel and statement of defendant, finds that the defendant's plea was freely,
voluntanty. and understandingly entered, and Orders the above offenses be consolidated for judgment and the defendant be imprisoned

 

 

for a minimum term of fora maximum termof. ~~ in the custody of the: _
89 months 1t6 months
~ Class A Felony Life Imprisonment Without Parole Death (see attached Death % N.C, DOC.
ass eony fe impnsonmen HNOU. TO) . _ . af
Warrant and Certificates) oer pursuant to G.S. 15A-1352(b). i
Class B1 Felony Life impnsonment Without Parole
Miolent Habituai Felon Life Impnsonment Without Parole
The defendant shall he given credit for 169 days spent in the confinement prior to the date of this Judgment as a resutt of this charge.

The sentence imposed above shall begin at the expiration of all sentences which the defendant i is presently obligated to serve.
The sentence imposed above shall begin at the expiration of the sentence imposed tn the case referenced below.
(NOTE: cist the case number, date. courity and court in which prior sentence imposed.)

AGC-CR-4AD4
Nea 10/98

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Case 3:20-cr-00426-FDW-DSC Document 51-1 Filed 10/27/21 Page 2 of 4

 
 

Sect af Pat eoce'y!

1 Tre defertant sng pay tne costs 2 The defendant shail pay a fine of $
The Court recomenends
3 Subttance Anuse Treatment Unt pursuantts GS 154-13814:m 4 Psychiatric and/or psychological counseling

§ Wioew Detease

5 Payment as a comdinen ot post release sunennsion f applicable or from work release earnings, if applicable. of the items and
Sncunts set Cul Stow

Soe LOS" Reirtcoct Pempursement &o- Amy See & Other Esperses Total Amcun: Due

“Nameis). adsessies; amountis) & soca! secunty numperis) of aggneved pany(ies) tc receive restitution

  
 
  
   
   
   
 
 
   
    
   
  
   
 
   
   
 
 
   
 

The Cour? Gees nct recommend:
1 Resttuson as 2 couston of pos? release SuDenisiON Of work release 2 Work release
a paren nee AWARD OF FEE TO COUNSEL FOR DEFENDANT .
A heanng was held m open Court mn he presence of the defendant at which time a fee. including expenses, was awarded the
Qefendarls apposed counsel of osogned ruDhc defender
a ORDER OF COMMITMENTIAPPEAL ENTRIES |
3 8m CRUE RED tat the Clete detwes tag certhed Copies of this Judgment and Commitment to the shenft or other qualified officer and
Dal fe offcet cause the Uetendant to be ceiwered with these copies to the custody of the agency named on the reverse to serve the
werkence pe A rtd Se octlendant snai have comphed with the conditions of release pending appeal
The eterdart Gwes noble of appeal fram the jadgment of the Superio: Court to the Appellate Division. Appeal entries and any
Serbo of post coment teeane are set forth an form AOC-CR.350 7
; SIGNATURE OF JUDGE we
Naarre OF Presstng Jestpe (Tyce Or Pent)
RAYMOND A WARREN

ORDER OF COMMITMENT A (eg de - oo

rete A tee OM Rita al tent Date Appeliate Opimon Certthed

  

amet Re detente ww tre custody of the off-cial named in thrs Judgment and fumish that official two certified copies of this Judgment
nee Camere a athonty S19 the: comemitnert and detenhon of the defendant

ile Rayratiere Of Cheon Deputy CSC Assistant CSC

Clerk Of Superior Court

  

Kemhity Dust Wer, durkgrend samt (aormenarmect eth the attachment marked below 1s a true and complete copy of the original which is on file
We coene Pepwal Ertenes (AOC-Cia-350)

i Felony Judgment Finrtngs OF Aggravating And Mitgating Factors (AOC-CR-605)

DaGtaas Fenton Bs Vo F orteture Of Licensing Prwleges (AOC-CR-317)

 

Cromemimert kit naton Statement (DC-600)
Sapnatute And Sea .
8. Hh. FOYT ho a fi POS apr.
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( y hep / ” XX Depety CSC issustant CSC Clerk Of Supenor Court

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t5124:>File 10/27/21 Page 3 of 4

 
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STATE OF NORTH CAROLINA

: SUPERIOR COURT. DIVISION

e COUNTY OF MECKLENBURG FILE NUMBER: 9/7 -CRS- /JOG
aoe 9 L6G) rs
3 G08 - IGG 7
ve. ) CERTIFICATE AS TO CREDIT =
k _ : ‘) UPON SENTENCE

i Defendant.

ie The undersigned attorney of record for the Defendant ‘hereby ie
ts certifies to the Court:

Upon examination of the. record, the Defendant is entitled to ..
—/49- days' credit upon any sentence of imprisonment, —
~ Pursuant to North Carolina General Statute 15A-1355(b).

 

 

This the BZ day of Lhgust » 1997.
GOODMAN, CARR, NIXON & LAUGHRUN
ce AL
T BY: = -
FILED #23 George VY. Laughrun, [1
bos : Attorney for Defendant
S03 6 1999 _ Suite 602 Cameron Brown Building

301 South McDowell Street:
Charlotte, North Carolina 28204 —
Seo aX OF SUPERIOR COURE Telephone: ‘704/372-2770
“ALENBURG COUNTY,

Case 3:20-cr-00426-FDW-DSC Document 51-1 Filed 10/27/21 Page 4 of 4

 

 

STATE OF NORTH CAROLINA IN THE GENERAL COURT OF QUSTICE

 

 

 

 
